       Case: 25-1555   Document: 82   Page: 1     Date Filed: 05/30/2025




 Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
                                (Consolidated)

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT
                        ––––––––––––––––––––
ATLAS DATA PRIVACY CORP., AS ASSIGNEE OF INDIVIDUALS WHO ARE COVERED
     PERSONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE 2,
 A LAW ENFORCEMENT OFFICER; EDWIN MALDONADO; SCOTT MALONEY;
              JUSTYNA MALONEY; PATRICK COLLIGAN;
            PETER ANDREYEV; AND WILLIAM SULLIVAN,
                                                  PLAINTIFFS-APPELLEES,
                                  v.
                          WE INFORM LLC, ET AL.
                                                      DEFENDANTS-APPELLANTS.

 On Appeal from the Order and Memorandum of the United States District Court
            for the District of New Jersey dated November 26, 2024

                 JOINT REPLY BRIEF OF APPELLANTS
              _________________________________________________
Angelo A. Stio III                        Marcel S. Pratt
Melissa A. Chuderewicz                    Michael Berry
Stephanie L. Jonaitis                     Anna Kaul
TROUTMAN PEPPER LOCKE LLP                 BALLARD SPAHR LLP
Suite 400, 301 Carnegie Center            1735 Market Street, 51st Floor
Princeton, NJ 08540                       Philadelphia, PA 19103-7599
(609) 452-0808                            (215) 864-8500
Angelo.Stio@troutman.com                  prattm@ballardspahr.com
Melissa.Chuderewicz@troutman.com          berrym@ballardspahr.com
Stephanie.Jonaitis@troutman.com           kaula@ballardspahr.com

Attorneys for Defendants-Appellants       Attorneys for Defendants-Appellants
RocketReach LLC (No. 25-1582); Deluxe     Thomson Reuters Enterprise Centre
Corp. (No. 25-1559); PropertyRadar Inc.   GmbH and West Publishing Corp.
(No. 25-1584); and DM Group Inc.          (No. 25-1570)
(No. 25-1558)

                  [Additional Counsel on Following Pages]
        Case: 25-1555   Document: 82   Page: 2   Date Filed: 05/30/2025




Counsel Continued from Cover Page:

Robert T. Szyba                        Clair E. Wischusen
SEYFARTH SHAW LLP                      GORDON REES SCULLY MANSUKHANI
620 Eighth Avenue, 32nd Floor          LLP
New York, NY 10018                     291 W. Mt. Pleasant Avenue, Suite 3310
(212) 218-5500                         Livingston, NJ 070369
rszyba@seyfarth.com                    (973) 549-2500
                                       cwischusen@grsm.com
Attorneys for Defendants-Appellants
We Inform, LLC (No. 25-1555);          Attorneys for Defendants-Appellants
Infomatics, LLC (No. 25-1556); and     Quantarium Alliance, LLC and
The People Searchers, LLC              Quantarium Group, LLC (No. 25-1560)
(No. 25-1557)



Derek L. Shaffer                       Eric H. Lubin
QUINN EMANUEL URQUHART &               LOMURRO, MUNSON, LLC
SULLIVAN, LLP                          Monmouth Executive Center
1300 I Street NW, Suite 900            4 Paragon Way, Suite 100
Washington, D.C. 20005                 Freehold, NJ 07728
(202) 538-8000                         (732) 414-0300
derekshaffer@quinnemanuel.com          ELubin@lomurrolaw.com

-and-                                  Attorneys for Defendants-Appellants
                                       Digital Safety Products, LLC (No.
Owen B. Smitherman                     25-1562); Civil Data Research (No.
300 West 6th St, Suite 2010            25-1563); and Scalable Commerce &
Austin, TX 78701                       National Data Analytics (No. 25-1564)
(737) 667-6100
owensmitherman@quinnemanuel.com

Attorneys for Defendant-Appellant
Yardi Systems, Inc. (No. 25-1561)
       Case: 25-1555    Document: 82   Page: 3   Date Filed: 05/30/2025




Ryan J. Cooper                         Jason A. Spak
Renier Pierantoni                      FISHERBROYLES LLP
COOPER, LLC – COUNSELORS AT LAW        6360 Broad Street #5262
108 N. Union Ave., Suite 4             Pittsburgh, PA 15206
Cranford, NJ 07016                     (412) 401-2000
ryan@cooperllc.com                     jason.spak@fisherbroyles.com
renier@cooperllc.com
                                       Attorneys for Defendant-Appellant
Attorneys for Defendant-Appellant      Innovis Data Solutions, Inc.
Labels & Lists, Inc. (No. 25-1565)     (No. 25-1566)



John E. MacDonald                      Samantha L. Southall
CONSTANGY, BROOKS, SMITH &             BUCHANAN INGERSOLL & ROONEY PC
PROPHETE, LLP                          Two Liberty Place
3120 Princeton Pike, Suite 301         50 S. 16th Street, Suite 3200
Lawrenceville, NJ 08648                Philadelphia, PA 19102-2555
(609) 454-0096                         (215) 665-3800
jmacdonald@constangy.com               samantha.southall@bipc.com

Attorneys for Defendants-Appellants    Attorneys for Defendants-Appellants
Accurate Append, Inc. (No. 25-1567);   Zillow Inc. and Zillow Group, Inc.
and Restoration of America, Inc. and   (No. 25-1568)
Voter Reference Foundation, LLC
(No. 25-1572)
       Case: 25-1555   Document: 82   Page: 4   Date Filed: 05/30/2025




Frederick W. Alworth                   Michael P. O’Mullan
Kevin R. Reich                         RIKER DANZIG LLP
GIBBONS P.C.                           Headquarters Plaza
One Gateway Center                     One Speedwell Avenue
Newark, NJ 07102-5310                  Morristown, NJ 07962
(973) 596-4500                         (973) 451-8477
falworth@gibbonslaw.com                momullan@riker.com
kreich@gibbonslaw.com
                                       Attorneys for Defendant-Appellant
Attorneys for Defendant-Appellant      Melissa Data Corporation
Equimine, Inc. (No. 25-1569)           (No. 25-1571)



Richard J.L. Lomuscio                  David E. Sellinger
STINSON LLP                            Aaron Van Nostrand
100 Wall Street, Suite 201             GREENBERG TRAURIG LLP
New York, NY 10005                     500 Campus Drive, Suite 400
(646) 883-7471                         Florham Park, NJ 07932-0677
richard.lomuscio@stinson.com           (973) 443-3557
                                       sellingerd@gtlaw.com
Attorneys for Defendant-Appellant      vannostranda@gtlaw.com
i360, LLC (No. 25-1573)
                                       Attorneys for Defendants-Appellants
                                       GoHunt, LLC, GoHunt Management
                                       Holdings, LLC, and GoHunt
                                       Management Holdings II, LLC
                                       (No. 25-1574)
        Case: 25-1555   Document: 82   Page: 5   Date Filed: 05/30/2025




Kelly M. Purcaro                        Matthew S. AhKao
Kory Ann Ferro                          LEWIS BRISBOIS BISGAARD & SMITH,
GREENSPOON MARDER LLP                   LLP
One Riverfront Plaza                    One Riverfront Plaza, Suite 800
1037 Raymond Blvd., Suite 900           Newark, NJ 07102
Newark, NJ 07102                        (973) 577-6260
(732) 456-8746                          Matthew.AhKao@lewisbrisbois.com
Kelly.Purcaro@gmlaw.com
KoryAnn.Ferro@gmlaw.com                 Attorneys for Defendant-Appellant
                                        Synaptix Technology, LLC
-and-
                                        (No. 25-1576)
Jennifer Fiorica Delgado
LOWENSTEIN SANDLER LLP
One Lowenstein Drive
Roseland, NJ 07068
(646) 414-6962
jdelgado@lowenstein.com

Attorneys for Defendant-Appellant
AccuZip, Inc. (No. 25-1575)


Kelly M. Purcaro                        J. Timothy McDonald
Kory Ann Ferro                          THOMPSON HINE LLP
GREENSPOON MARDER LLP                   Two Alliance Center
One Riverfront Plaza                    3560 Lenox Road, Suite 1600
1037 Raymond Blvd., Suite 900           Atlanta, GA 30326
Newark, NJ 07102                        (404) 541-2906
(732) 456-8746                          Tim.McDonald@ThompsonHine.com
Kelly.Purcaro@gmlaw.com
                                        -and-
KoryAnn.Ferro@gmlaw.com
                                     Steven G. Stransky
Attorneys for Defendant-Appellant    (admission pending)
Joy Rockwell Enterprises, Inc. d/b/a 127 Public Square, #3900
PostcardMania PCM LLC (No. 25-1577) Cleveland, OH 44114
                                     (216) 566-5500
                                     Steve.Stransky@ThompsonHine.com

                                        Attorneys for Defendant-Appellant
                                        Fortnoff Financial, LLC (No. 25-1578)
       Case: 25-1555   Document: 82    Page: 6   Date Filed: 05/30/2025




Clair E. Wischusen                     H. Mark Stichel
GORDON REES SCULLY MANSUKHANI RKW, LLC
LLP                                    10075 Red Run Blvd., 4th Floor
291 W. Mt. Pleasant Avenue, Suite 3310 Owings Mills, MD 21117
Livingston, NJ 07039                   (443) 379-8987
(973) 549-2500                         HMStichel@RKWlawgroup.com
cwischusen@grsm.com
                                       Attorneys for Defendant-Appellant
Attorneys for Defendant-Appellant      E-Merges.com, Inc. (No. 25-1580)
Nuwber, Inc. (No. 25-1581)



Kelly M. Purcaro                        Stephen M. Orlofsky
Kory Ann Ferro                          Philip N. Yannella
GREENSPOON MARDER LLP                   Thomas P. Cialino
One Riverfront Plaza                    BLANK ROME LLP
1037 Raymond Blvd., Suite 900           300 Carnegie Center, Suite 220
Newark, NJ 07102                        Princeton, NJ 08540
(732) 456-8746                          (609) 750-2646
Kelly.Purcaro@gmlaw.com                 Stephen.Orlofsky@BlankRome.com
KoryAnn.Ferro@gmlaw.com                 Philip.Yannella@BlankRome.com
                                        Thomas.Cialino@BlankRome.com
Attorneys for Defendant-Appellant
The Alesco Group, L.L.C. (improperly    Attorneys for Defendant-Appellant
pled as Alesco AI, LLC, Alesco          Belles Camp Communications, Inc.
Marketing Solutions, L.L.C., Stat       (No. 25-1583)
Resource Group Inc., and Response
Solutions Group, LLC) (No. 25-1585)
       Case: 25-1555   Document: 82    Page: 7   Date Filed: 05/30/2025




Kelly M. Purcaro                        Kelly M. Purcaro
Kory Ann Ferro                          Kory Ann Ferro
GREENSPOON MARDER LLP                   GREENSPOON MARDER LLP
One Riverfront Plaza                    One Riverfront Plaza
1037 Raymond Blvd., Suite 900           1037 Raymond Blvd., Suite 900
Newark, NJ 07102                        Newark, NJ 07102
(732) 456-8746                          (732) 456-8746
Kelly.Purcaro@gmlaw.com                 Kelly.Purcaro@gmlaw.com
KoryAnn.Ferro@gmlaw.com                 KoryAnn.Ferro@gmlaw.com

Attorneys for Defendant-Appellant       Attorneys for Defendant-Appellant
Amerilist, Inc. (No. 25-1587)           Searchbug, Inc. (No. 25-1586)



Kenneth D. Friedman                     Kelly M. Purcaro
MANATT, PHELPS & PHILLIPS, LLP          Kory Ann Ferro
7 Times Square                          GREENSPOON MARDER LLP
New York, NY 10036                      One Riverfront Plaza
(212) 790-4500                          1037 Raymond Blvd., Suite 900
kfriedman@manatt.com                    Newark, NJ 07102
                                        (732) 456-8746
Attorneys for Defendant-Appellant       Kelly.Purcaro@gmlaw.com
Smarty, LLC d/b/a SmartyStreets, LLC    KoryAnn.Ferro@gmlaw.com
(No. 25-1589)
                                        Attorneys for Defendant-Appellant
                                        US Data Corporation (No. 25-1588)
        Case: 25-1555   Document: 82   Page: 8   Date Filed: 05/30/2025




Kelly M. Purcaro                        Jared K. Levy
Kory Ann Ferro                          WOOD, SMITH, HENNING & BERMAN
GREENSPOON MARDER LLP                   LLP
One Riverfront Plaza                    400 Connell Drive, Suite 1100
1037 Raymond Blvd., Suite 900           Berkeley Heights, NJ 07922
Newark, NJ 07102                        (973) 265-9901
(732) 456-8746                          jlevy@wshblaw.com
Kelly.Purcaro@gmlaw.com
KoryAnn.Ferro@gmlaw.com                 Attorneys for Defendants-Appellants
                                        Compact Information Systems, LLC,
-and-                                   Accudata Integrated Marketing, Inc.,
                                        Alumnifinder, ASL Marketing, Inc.,
Kiran Raj                               College Bound Selection Services,
RAJ FERBER PLLC                         Deepsync Labs, Homedata, and Student
1629 K Street NW, Suite 300             Research Group (No. 25-1590)
Washington, DC 20006
(202) 827-9785
kiran@rajferber.com

Attorneys for Defendant-Appellant
DarkOwl, LLC (No. 25-1591)



Ronald L. Davison                       Christopher Nucifora
STARR, GERN, DAVISON & RUBIN, P.C.      Timothy M. Ortolani
105 Eisenhower Parkway, Suite 401       KAUFMAN DOLOWICH LLP
Roseland, NJ 07068-1640                 Court Plaza North
(973) 403-9200                          25 Main Street, Suite 500
rdavison@starrgern.com                  Hackensack, NJ 07601
                                        (201) 708-8207
Attorneys for Defendant-Appellant       cnucifora@kaufmandolowich.com
Lighthouse List Company, LLC            tortolani@kaufmandolowich.com
(No. 25-1593)
                                        Attorneys for Defendant-Appellant Spy
                                        Dialer, Inc. (No. 25-1592)
        Case: 25-1555    Document: 82   Page: 9   Date Filed: 05/30/2025




Jared M. Wichnovitz                      William Wendell Cheney, III
LAW OFFICES OF JARED M.                  Andrew W. Sheppard
WICHNOVITZ, P.C.                         FREEMAN MATHIS & GARY, LLP
50 Harrison Street, Suite 206            3 Executive Campus, Suite 350
P.O. Box 631                             Cherry Hill, NJ 08002
Hoboken, NJ 07030                        (856) 406-1268, 1262
(732) 765-2157                           wcheney@fmglaw.com
jared@wichnovitzlaw.com                  Andrew.sheppard@fmglaw.com

Attorney for Defendant-Appellant         Attorney for Defendant-Appellant
Greenlight Venture Corp.                 First Direct, Inc. (No. 25-1676)
(No. 25-1677)
           Case: 25-1555            Document: 82             Page: 10           Date Filed: 05/30/2025




                                         TABLE OF CONTENTS
                                                                                                                      Page

TABLE OF AUTHORITIES .................................................................................... ii

INTRODUCTION .....................................................................................................1

ARGUMENT .............................................................................................................3
I.       STRICT SCRUTINY GOVERNS THIS FACIAL CHALLENGE
         TO A CONTENT-BASED SPEECH RESTRICTION ................................... 3
II.      LESSER SCRUTINY IS NOT WARRANTED ............................................. 9

         A.       The Law Does Not Regulate Commercial Speech................................ 9

         B.       The Law Cannot Be Justified by “History and Tradition”.................. 13
         C.       The Daily Mail Test Does Not Supplant Strict Scrutiny ....................16
         D.       Applying Strict Scrutiny Would Not Render Other Laws
                  Unconstitutional ..................................................................................20
III.     THE LAW FAILS ANY LEVEL OF SCRUTINY.......................................20
         A.       The Notice Provision Does Not Constitute Narrow
                  Tailoring ..............................................................................................21

         B.       The Law Improperly Permits Disclosures Posing Identical
                  Risks ....................................................................................................21

         C.       The Law’s Other Features Dramatically Expand Its Sweep ............... 24
         D.       Similar Laws Are More Narrowly Tailored ........................................27
IV.      THE LAW HAS NO MENS REA REQUIREMENT AND
         THEREFORE SHOULD BE INVALIDATED ............................................28

CONCLUSION ........................................................................................................31

CERTIFICATIONS .................................................................................................49




                                                             i
           Case: 25-1555           Document: 82           Page: 11         Date Filed: 05/30/2025




                                     TABLE OF AUTHORITIES
                                                                                                          Page(s)
Cases
Alexander v. Sutton,
   747 F. Supp. 3d 520 (E.D.N.Y. 2024) .................................................................. 9
American Future Systems, Inc. v. Pennsylvania State University,
  752 F.2d 854 (3d Cir. 1984) ...............................................................................10
Ariix, LLC v. NutriSearch Corp.,
   985 F.3d 1107 (9th Cir. 2021) ............................................................................11
Ashcroft v. ACLU,
   542 U.S. 656 (2004) ........................................................................................3, 25
Ashcroft v. Free Speech Coalition,
   535 U.S. 234 (2002) ............................................................................................25
Bartnicki v. Vopper,
  532 U.S. 514 (2001) ..............................................................................................4
Board of Trustees of State University of New York v. Fox,
  492 U.S. 469 (1989) ............................................................................................10

Boelter v. Advance Magazine Publishers Inc.,
  210 F. Supp. 3d 579 (S.D.N.Y. 2016) ................................................................12
Boelter v. Hearst Communications, Inc.,
  192 F. Supp. 3d 427 (S.D.N.Y. 2016) ................................................................12
Bolger v. Youngs Drug Products Corp.,
   463 U.S. 60 (1983) ..............................................................................................11

Brown v. Entertainment Merchants Association,
   564 U.S. 786 (2011) ..........................................................................................3, 8
Bruni v. City of Pittsburgh,
   824 F.3d 353 (3d Cir. 2016) .............................................................................7, 9

Camp Hill Borough Republican Association v. Borough of Camp Hill,
  101 F.4th 266 (3d Cir. 2024) ................................................................................3

                                                         ii
           Case: 25-1555           Document: 82           Page: 12         Date Filed: 05/30/2025




Capra v. Thoroughbred Racing Association of North America, Inc.,
  787 F.2d 463 (9th Cir. 1986) ..............................................................................14

City of Austin v. Reagan National Advertising of Austin, LLC,
   596 U.S. 61 (2022) ..........................................................................................5, 10

Cox Broadcasting Corp. v. Cohn,
  420 U.S. 469 (1975) ......................................................................................16, 19

Dahlstrom v. Sun-Times Media, LLC,
  777 F.3d 937 (7th Cir. 2015) ............................................................................5, 6

Davenport v. Washington Education Association,
  551 U.S. 177 (2007) ..............................................................................................7

Dex Media West, Inc. v. City of Seattle,
  696 F.3d 952 (9th Cir. 2012) ..............................................................................11
Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc.,
  472 U.S. 749 (1985) ............................................................................................17
Evans-Aristocrat Industries, Inc. v. Newark,
  380 A.2d 268 (N.J. 1977) ...................................................................................30
Florida Star v. B.J.F.,
   491 U.S. 524 (1989) ..........................................................................18, 19, 24, 31
Free Speech Coalition, Inc. v. Attorney General United States,
   974 F.3d 408 (3d Cir. 2020) ...............................................................................25

Goldhagen v. Pasmowitz,
  255 A.3d 1191 (N.J. 2021) .................................................................................29
Greater Philadelphia Chamber of Commerce v. City of Philadelphia,
  949 F.3d 116 (3d Cir. 2020) ...............................................................................11

Hyde v. City of Columbia,
  637 S.W.2d 251 (Mo. Ct. App. 1982) ................................................................14

IMDb.com v. Becerra,
  962 F.3d 1111 (9th Cir. 2020) ............................................................................18



                                                         iii
           Case: 25-1555           Document: 82           Page: 13         Date Filed: 05/30/2025




Kallstrom v. City of Columbus,
  136 F.3d 1055 (6th Cir. 1998) ......................................................................15, 16

A.A. ex rel. M.M. v. New Jersey,
   341 F.3d 206 (3d Cir. 2003) ...............................................................................15

Mainstream Marketing Services, Inc. v. FTC,
  358 F.3d 1228 (10th Cir. 2004) ..........................................................................21

Martin v. City of Struthers,
  319 U.S. 141 (1943) ............................................................................................21

Moody v. NetChoice, LLC,
  603 U.S. 707 (2024) ......................................................................................7, 8, 9

Moriarty v. Svec,
  164 F.3d 323 (7th Cir. 1998) ..............................................................................19
National Federation of the Blind v. FTC,
  420 F.3d 331 (4th Cir. 2005) ..............................................................................21
NetChoice, LLC v. Griffin,
   2025 WL 978607 (W.D. Ark. Mar. 31, 2025) ...................................................... 8
NetChoice, LLC v. Reyes,
   748 F. Supp. 3d 1105 (D. Utah 2024)................................................................... 9
New York Times Co. v. Sullivan,
  376 U.S. 254 (1964) ............................................................................................26

Ostergren v. Cuccinelli,
   615 F.3d 263 (4th Cir. 2010) ..............................................................................24
Packingham v. North Carolina,
  582 U.S. 98 (2017) ..............................................................................................20

Pitt News v. Pappert,
   379 F.3d 96 (3d Cir. 2004) .................................................................................23

Project Veritas v. Schmidt,
   125 F.4th 929 (9th Cir. 2025) ............................................................................... 6



                                                         iv
           Case: 25-1555           Document: 82           Page: 14         Date Filed: 05/30/2025




R.A.V. v. City of St. Paul,
   505 U.S. 377 (1992) ..............................................................................................6

Reed v. Town of Gilbert,
   576 U.S. 155 (2015) ..................................................................................3, 5, 6, 8

Sable Communications of California, Inc. v. FCC,
   492 U.S. 115 (1989) ............................................................................................27

Saunders v. Hearst Television, Inc.,
   711 F. Supp. 3d 24 (D. Mass. 2024) ...................................................................12

Schrader v. District Attorney of York County,
   74 F.4th 120 (3d Cir. 2023) .........................................................................passim

Smith v. Daily Mail Publishing Co.,
  443 U.S. 97 (1979) ..............................................................................................17
Sorrell v. IMS Health Inc.,
   564 U.S. 552 (2011) ........................................................................................4, 10
Stark v. Patreon, Inc.,
   656 F. Supp. 3d 1018 (N.D. Cal. 2023) ..............................................................12
State v. Pomianek,
   110 A.3d 841 (N.J. 2015) ...................................................................................29
Trans Union Corp. v. FTC,
   267 F.3d 1138 (D.C. Cir. 2001) ..........................................................................10

Turner Broadcast Systems, Inc. v. F.C.C.,
   520 U.S. 180 (1997) ............................................................................................28
United States v. Playboy Entertainment Group, Inc.,
  529 U.S. 803 (2000) ..............................................................................3, 8, 18, 28

United States DOD v. FLRA,
  510 U.S. 487 (1994) ............................................................................................15

United States DOJ v. RCFP,
  489 U.S. 749 (1989) ............................................................................................14



                                                          v
           Case: 25-1555            Document: 82            Page: 15         Date Filed: 05/30/2025




Universal City Studios, Inc. v. Corley,
  273 F.3d 429 (2d Cir. 2001) ...............................................................................17

Usachenok v. Department of the Treasury,
  313 A.3d 53 (N.J. 2024) .....................................................................................30

Vidal v. Elster,
   602 U.S. 286 (2024) ........................................................................................5, 13

VoteAmerica v. Schwab,
   121 F.4th 822 (10th Cir. 2024) .......................................................................7, 14

X Corp. v. Bonta,
   116 F.4th 888 (9th Cir. 2024) ............................................................................... 8

Federal Statutes
Daniel Anderl Judicial Security and Privacy Act of 2022, Pub. L. No.
  117-263, 136 Stat. 2395 (2022) ....................................................................23, 26

State Statutes
Del. Code Ann. tit. 10 § 1924 ..................................................................................26
Del. Code Ann. tit. 11 §§ 9611 et seq. .....................................................................16
Md. Code Ann., Cts. & Jud. Proc. § 3-2301 ............................................................23

Md. Code Ann., Cts. & Jud. Proc. § 3-2303 ............................................................24

N.J.S.A. 2A:82-46 ....................................................................................................16
N.J.S.A. 47:1B-3 ......................................................................................................19

N.J.S.A. 47:4-1 et seq. .............................................................................................16
N.J.S.A. 56:8-166.1 ......................................................................................11, 29, 31

N.J.S.A. 56:8-166.7 ..................................................................................................24

2021 N.J. Sess. Law Serv. Ch. 371 § 8 ....................................................................25

23 Pa. C.S.A. §§ 6701 et seq....................................................................................16


                                                           vi
            Case: 25-1555            Document: 82            Page: 16          Date Filed: 05/30/2025




Other Authorities
Philip E. Hassman, Public Addresses as Well as Name of Person as
   Invasion of Privacy, 84 A.L.R.3d 1159 § 1 (1978) ............................................14
N.J.R. 1:38-3 ............................................................................................................16

RESTATEMENT (SECOND) OF TORTS § 652I ..............................................................30




                                                            vii
        Case: 25-1555     Document: 82     Page: 17     Date Filed: 05/30/2025




                                 INTRODUCTION

      No one disputes that judges and law enforcement officers face serious risks,

or that the government should be able to enact laws to protect their safety. The

federal government and several states have enacted versions of Daniel’s Law that

attempt to strike a balance between the important speech and safety interests at

stake. This case is not about the validity of those laws; nor is it about the

constitutionality of data protection laws generally. It is only about the singular

approach adopted in New Jersey’s private cause of action.

      To argue the current version of Daniel’s Law is constitutional, Plaintiffs and

the New Jersey Attorney General (together, “Appellees”) invent their own bespoke

tests, which no court, including the district court below, has ever adopted. They

devise a host of theories for their new forms of reduced scrutiny, trying mightily to

bend well-established concepts like content-neutrality, commercial speech, and the

Daily Mail test to fit the Law within their custom-built frameworks. None fits.

      New Jersey’s Daniel’s Law is a content-based restriction on noncommercial

speech. Under foundational First Amendment jurisprudence, that means Appellees

face the “daunting burden” of showing it is narrowly tailored to – and the least

restrictive means of – achieving the government’s interest in safety. Schrader v.

Dist. Att’y of York Cnty., 74 F.4th 120, 127 (3d Cir. 2023). Appellees do not come

close to satisfying that standard.
        Case: 25-1555     Document: 82     Page: 18     Date Filed: 05/30/2025




      While Appellees contend the Law’s sweeping ban on private actors’

“disclosures” is “necessary,” they stand by its array of carve-outs for disclosures

by the government – to everyone from real estate brokers and union chiefs to

political parties and government vendors – that pose the same “obvious risk.”

Worse, the Law does not require the government to stop its own public disclosures.

Appellees brush this loophole aside, saying it exists for “good reason.” But they

fail to explain why the Law gives covered persons and their assignees the

unprecedented power to penalize private actors, on a strict-liability basis, for

merely repeating the contents of government records.

      The Law’s holes leave open the “limitless backdoor” to the same harms it

seeks to foreclose. Still, Appellees extol this scheme for giving covered persons

the right to “control” the information. This supposed virtue is a constitutional vice.

It authorizes covered persons – primarily public officials – to selectively determine

whose speech will be censored, providing a vehicle for viewpoint- and speaker-

based discrimination, concerns at the very heart of the First Amendment.

      Ultimately, this case is not about the general policy of limiting the

publication of public servants’ contact information on the Internet. It is about the

specific statute New Jersey chose to enact – weighed down by the recent

amendments tailor-made for Atlas and its venture-capitalist backers to make a

Silicon-Valley-sized return on their investment. Appellees offer no explanation for

                                          2
        Case: 25-1555    Document: 82     Page: 19    Date Filed: 05/30/2025




the legislative changes lobbied for by Atlas, which made possible the nearly 200

cases it is now prosecuting. And the legislative record is silent on why New Jersey

alone needed to adopt this one-of-a-kind regime.

      This appeal poses a narrow question with a straightforward resolution: Is

this unique Law facially unconstitutional? Under long-settled precedent, the

answer is “yes.”

                                   ARGUMENT

I.    STRICT SCRUTINY GOVERNS THIS FACIAL CHALLENGE TO A
      CONTENT-BASED SPEECH RESTRICTION.

      Daniel’s Law is a content-based restriction on speech that must withstand

strict scrutiny. E.g., Reed v. Town of Gilbert, 576 U.S. 155, 165 (2015); Brown v.

Entm’t Merchs. Ass’n, 564 U.S. 786, 799 (2011); United States v. Playboy Entm’t

Grp., Inc., 529 U.S. 803, 813 (2000). Because content-based restrictions are

“presumed invalid,” Ashcroft v. ACLU, 542 U.S. 656, 660 (2004), they must be

narrowly tailored to achieve a compelling interest, Reed, 576 U.S. at 171. Thus,

Daniel’s Law must use the “least restrictive means” and “curtail[] speech as little

as possible.” Camp Hill Borough Republican Ass’n v. Borough of Camp Hill, 101

F.4th 266, 271 (3d Cir. 2024).

      The Law falls well short of this “demanding standard” and is facially

unconstitutional. Brown, 564 U.S. at 799; see Defs. Br. at 25-41. Recognizing this


                                          3
        Case: 25-1555     Document: 82     Page: 20    Date Filed: 05/30/2025




result, Appellees attempt to evade strict scrutiny at every turn. Each of their efforts

misses the mark.

      First, Plaintiffs, but not the Attorney General, argue the Law does not

regulate speech because “[d]ata or symbolic representations are not the same thing

as ‘communicative content.’” Pls. Br. at 33-34. But the Law targets what

Plaintiffs derisively describe as “data” because of what that data “communicates” –

a covered person’s address and phone number. JA101. Moreover, Plaintiffs cite

no case for their theory, which the Supreme Court has rejected. Sorrell v. IMS

Health Inc., 564 U.S. 552, 570 (2011) (“dissemination of information,” including

data, is speech); see also, e.g., Bartnicki v. Vopper, 532 U.S. 514, 527 (2001)

(“acts of ‘disclosing’ and ‘publishing’ information” are speech).1

      Second, Appellees contend the Law is “agnostic as to content” because it

applies “only when a covered person has expressly requested nondisclosure.” AG

Br. at 33-34; Pls. Br. at 33-34. But a law does not become content-neutral by

granting a person the power to censor particular content. By Appellees’ logic, a



1
  Electronic Privacy Information Center (“EPIC”) endeavors to rewrite Sorrell’s
acknowledgement that disseminating data is speech by arguing the Court “treated
prescriber-identifying data not as speech but as an instrumentality of speech.”
EPIC Br. at 7. EPIC overlooks that, unlike here, the respondents challenging the
law in Sorrell did not possess the data and, without it, could not speak. The Court
thus explained that the speech-based restriction on pharmacies (which did possess
the data) “impose[d] a content- and speaker-based burden on respondents’ own
speech.” 564 U.S. at 569-70.
                                          4
        Case: 25-1555    Document: 82      Page: 21   Date Filed: 05/30/2025




law requiring libraries to remove books about New Jersey law enforcement, but

only if an officer mentioned in the book demands it, would be deemed “agnostic as

to content” – an absurd proposition. Indeed, recent Supreme Court precedent

explains that a law is content-based even when it turns on whether the speaker

lacks a person’s “consent” for speech referring to them. Vidal v. Elster, 602 U.S.

286, 295 (2024).

      Daniel’s Law is unlike the “neutral, location-based lines” drawn by the

regulation in City of Austin v. Reagan National Advertising of Austin, LLC, 596

U.S. 61, 69 (2022), on which Appellees rely. That regulation required review of a

sign’s content merely to determine whether location-based rules applied. Id. at 71.

The Court contrasted that regulation with laws that draw lines based on “topic or

subject matter.” Id. Daniel’s Law does precisely that: It “singles out specific

subject matter for differential treatment,” Reed, 576 U.S. at 169, preventing

“discussion of an entire topic” – i.e., covered persons’ addresses and phone

numbers. City of Austin, 596 U.S. at 70.

      Nor is Daniel’s Law like the statute in Dahlstrom v. Sun-Times Media, LLC,

777 F.3d 937 (7th Cir. 2015) (cited in AG Br. at 35; Pls. Br. at 34), which was

deemed content-neutral because it focused on the “origin of the information,”

motor vehicle records. Id. at 949. It did not limit “dissemination of the very same




                                           5
        Case: 25-1555     Document: 82     Page: 22     Date Filed: 05/30/2025




information” if “acquired from a lawful source.” Id. By contrast, Daniel’s Law

bans disclosures across-the-board, regardless of the information’s source.

      Third, the Attorney General misplaces reliance on the “secondary effects”

doctrine, claiming the “feature that drives coverage” under the Law is the “risk”

posed by disclosing covered persons’ information. AG Br. at 33-35. Yet, as the

case cited by the Attorney General explains, this doctrine is limited to

“proscribable” classes of speech, like incitement and obscenity, and, even then,

listeners’ “reactions” do not qualify as a “secondary effect.” R.A.V. v. City of St.

Paul, 505 U.S. 377, 389, 394 (1992).

      Fourth, the Supreme Court has foreclosed Appellees’ claim that only

viewpoint-based restrictions require strict scrutiny and that laws with a “benign

motive” are insulated from this burden. Pls. Br. at 33-35; AG Br. at 23, 33-34. A

content-based law is subject to strict scrutiny “even if it does not discriminate

among viewpoints” and “regardless of the government’s benign motive.” Reed,

576 U.S. at 165, 169. Appellees’ cases explain why: Concerns about suppression

of protected speech are “present not only when a regulation discriminates on the

basis of viewpoint, but also when a regulation restricts discussion of an entire

topic.” Project Veritas v. Schmidt, 125 F.4th 929, 950 (9th Cir. 2025) (cleaned

up); see, e.g., Reed, 576 U.S. at 156 (“The vice of content-based legislation . . . is




                                           6
        Case: 25-1555      Document: 82      Page: 23     Date Filed: 05/30/2025




not that it is always used for invidious, thought-control purposes, but that it lends

itself to use for those purposes.”).

      Unlike the laws discussed in Appellees’ cases, Daniel’s Law suppresses

speech on a topic entirely. E.g., Davenport v. Wash. Educ. Ass’n, 551 U.S. 177,

188-89 (2007) (no concern about “suppression” because unions could engage in

same speech using other funds); VoteAmerica v. Schwab, 121 F.4th 822, 850 (10th

Cir. 2024) (information could be provided to voter “in multiple alternative ways”).

      Moreover, by empowering covered persons – most of whom are public

officials – to wield the Law’s restrictions whenever they want against whomever

they want, the Law enables both viewpoint- and speaker-based discrimination.

      Finally, Appellees point to Moody v. NetChoice, LLC, 603 U.S. 707 (2024),

to argue Defendants must develop the record to show “a substantial number of [the

Law’s] applications are unconstitutional, judged in relation to [its] plainly

legitimate sweep.” Pls. Br. at 2, 28-29; AG Br. at 16-19, 21. This misunderstands

Moody’s import in challenges to laws containing content-based restrictions.

      In Moody, the Supreme Court reaffirmed that in “the usual First Amendment

case, we must decide whether to apply strict or intermediate scrutiny.” 603 U.S. at

740. As this Court held in Bruni v. City of Pittsburgh, if a law is content-based and

fails strict scrutiny, it is facially invalid because it cannot “be constitutionally

applied to anyone.” 824 F.3d 353, 363 (3d Cir. 2016).

                                            7
        Case: 25-1555     Document: 82     Page: 24     Date Filed: 05/30/2025




      Moody, however, was not the usual First Amendment case. There, the Court

considered the constitutionality of two laws that applied to a “range of activities,”

some of which did not involve speech or otherwise implicate the First Amendment.

603 U.S. at 724. The lower courts had focused only on “heartland applications,”

like curating Facebook’s News Feed, which involved “editorial discretion”

protected by the First Amendment. Id. They did not consider the laws’

applications to activities not protected by the First Amendment, like filtering users’

incoming emails and transmitting their direct messages. Id. at 724-26. The

Supreme Court thus remanded the cases for lower courts to consider “the full range

of activities the laws cover,” “decide which of the laws’ applications violate the

First Amendment,” and “measure” them against constitutional applications. Id.

      Nothing in Moody changed, much less overruled, Bruni and the longstanding

precedent requiring strict scrutiny in facial challenges to content-based restrictions.

E.g., Reed, 576 U.S. 155; Brown, 564 U.S. 786; Playboy, 529 U.S. 803. Thus,

post-Moody, courts around the country continue to apply strict scrutiny in such

challenges – even to content-based restrictions protecting privacy interests. E.g., X

Corp. v. Bonta, 116 F.4th 888, 899 (9th Cir. 2024) (applying strict scrutiny where

“every application” raises “same First Amendment issues”); NetChoice, LLC v.

Griffin, 2025 WL 978607, at *14 (W.D. Ark. Mar. 31, 2025) (rejecting argument

that “record is far too underdeveloped” because, under strict scrutiny, the law is

                                           8
        Case: 25-1555     Document: 82     Page: 25    Date Filed: 05/30/2025




“unconstitutional in all conceivable applications”); NetChoice, LLC v. Reyes, 748

F. Supp. 3d 1105, 1120-21 (D. Utah 2024) (content-based law that fails strict

scrutiny has “no constitutionally permissible application”); Alexander v. Sutton,

747 F. Supp. 3d 520, 550 (E.D.N.Y. 2024) (regulation protecting student privacy

“not narrowly tailored”). Appellees cite no contrary authority.

      This is a “usual First Amendment case.” Moody, 603 U.S. at 740. There is

no need to “speculat[e] about the law’s coverage.” AG Br. at 16 (quoting Moody,

603 U.S. at 723). The only activity the Law restricts is speech, and it does so in all

its applications. Because the Law’s restriction is content-based, under controlling

precedent, strict scrutiny applies. Bruni, 824 F.3d at 363.

II.   LESSER SCRUTINY IS NOT WARRANTED.

      Appellees next seek to avoid strict scrutiny by arguing that even if the Law

is content-based, it nonetheless is exempt from that “daunting burden.” Again,

their arguments miss the mark.

      A.     The Law Does Not Regulate Commercial Speech.

      The Attorney General, but not Plaintiffs, argues the Law “primarily

regulates” commercial speech. AG Br. at 29. This argument fails from the start.

The commercial speech doctrine applies only when “all speech hampered by [a




                                          9
        Case: 25-1555    Document: 82     Page: 26     Date Filed: 05/30/2025




law] is commercial.” Sorrell, 564 U.S. at 571 (emphasis added). 2 Even if the Law

reaches both commercial and noncommercial speech as the Attorney General

contends, the doctrine does not apply because the Law “admit[s] of no exception

for noncommercial speech.” City of Austin, 596 U.S. at 68 n.3.3 Here, as Plaintiffs

emphasize, the Law “cover[s] essentially all disclosures,” Pls. Br. at 39,

prohibiting any disclosure for any reason in any context.

      The Attorney General nevertheless argues that the commercial speech

doctrine is implicated because the Law applies to “data brokers and the like,” with

“mine-run applications” limited to “for-profit companies that transmit gigabytes of

personal information each day.” AG Br. at 31. The test for whether speech is

commercial does not turn on who is regulated but the type of speech proscribed. In

any event, the Law’s text is not limited to “data brokers” or “for-profit companies.”

Unlike the laws addressed in the Attorney General’s cases, see Trans Union Corp.

v. FTC, 267 F.3d 1138, 1140 (D.C. Cir. 2001) (regulating marketing lists sold by



2
  In Sorrell, the Court held “there [was] no need to determine whether all” speech
restricted by the law was commercial because “the outcome [was] the same
whether a special commercial speech inquiry or a stricter form of judicial scrutiny
is applied.” 564 U.S. at 571. The same is true for Daniel’s Law. Infra at 20-28.
3
 Neither of the three-decade-old cases cited by the Attorney General is to the
contrary. AG Br. at 32-33. One dealt with as-applied challenges, Bd. of Trs. of
State Univ. of N.Y. v. Fox, 492 U.S. 469, 486 (1989); the other involved solely
commercial speech, Am. Future Sys., Inc. v. Pa. State Univ., 752 F.2d 854, 862 (3d
Cir. 1984).
                                         10
        Case: 25-1555       Document: 82   Page: 27   Date Filed: 05/30/2025




consumer reporting agencies), Daniel’s Law applies to disclosure by any “person,

business, or association.” N.J.S.A. 56:8-166.1.

      Still, the Attorney General posits the Law regulates commercial speech

because “disclosing personal information for profit is commercial speech.” AG Br.

at 30. But an economic interest in disclosure, including in selling information as a

“product,” id. at 31, cannot alone transform the disclosures into commercial

speech. If it could, news reports would be less protected simply because they are

sold for profit. See Bolger v. Youngs Drug Prods. Corp., 463 U.S. 60, 67 (1983) (a

speaker’s “economic motivation” is “insufficient by itself” to render speech

commercial); Dex Media W., Inc. v. City of Seattle, 696 F.3d 952, 960 (9th Cir.

2012) (collecting cases).

      The Attorney General does not point to any case in this Circuit to support its

view that Daniel’s Law regulates commercial speech – presumably because the

Law does not regulate only speech proposing a commercial transaction, referring

to a product, containing an advertisement, or relating “solely to the economic

interests of the speaker and its audience.” Greater Phila. Chamber of Com. v. City

of Phila., 949 F.3d 116, 137 (3d Cir. 2020). Instead, the Attorney General relies

on a Ninth Circuit Lanham Act decision with a “narrow” holding tied to that case’s

“troubling allegations” of commercial deception. Ariix, LLC v. NutriSearch Corp.,




                                           11
        Case: 25-1555    Document: 82     Page: 28     Date Filed: 05/30/2025




985 F.3d 1107, 1118 (9th Cir. 2021) (“marketing sham” passing itself off as

“independent” was commercial speech).

      Failing to find support in this Court’s precedent, the Attorney General

resorts to out-of-circuit district court cases involving consumer privacy laws that

bear little resemblance to Daniel’s Law. AG Br. at 30-31 (collecting cases). Those

laws do not categorically “prohibit” speech. They merely require businesses to

keep confidential certain information they collect from consumers unless the

consumers consent – setting the default rules for commercial dealings with those

consumers. E.g., Saunders v. Hearst Television, Inc., 711 F. Supp. 3d 24, 33 (D.

Mass. 2024) (law to “preserve personal privacy with respect to the rental, purchase,

or delivery of videotapes”); Stark v. Patreon, Inc., 656 F. Supp. 3d 1018, 1034

(N.D. Cal. 2023) (disclosure of plaintiff’s “commercial interactions”); Boelter v.

Hearst Commcn’s, Inc., 192 F. Supp. 3d 427, 445 (S.D.N.Y. 2016) (restriction on

“sellers” from disclosing “identity of individuals who purchase” their products);

Boelter v. Advance Magazine Publishers Inc., 210 F. Supp. 3d 579, 597 (S.D.N.Y.

2016) (information “obtained” through defendant’s “business”). Notably,

businesses are not independently entitled to collect the sorts of information covered

by those statutes; it comes from the consumers with whom they do business. By

contrast, Daniel’s Law does not regulate transactions between consumers and

businesses, and does not involve information only available from the individual in

                                         12
        Case: 25-1555     Document: 82     Page: 29     Date Filed: 05/30/2025




question. It is a flat-out prohibition on speech imposed on anyone who receives a

takedown notice, no matter how the information is obtained or used.

      B.     The Law Cannot Be Justified by “History and Tradition.”

      Appellees misread the Supreme Court’s decision in Vidal v. Elster as

imposing a “history and tradition” test for content-based speech restrictions. AG

Br. at 20-27; Pls. Br. at 23. In Vidal, the Court upheld a trademark prohibition that

continued the “common-law tradition” of “prohibiting a person from obtaining a

trademark of another living person’s name without consent.” 602 U.S. at 302.

That decision did not overrule decisions applying strict scrutiny to content-based

restrictions and replace that scrutiny with a historical inquiry. In fact, the Court

emphasized that its decision was “narrow,” explicitly stating it did not even “set

forth a comprehensive framework for judging” other “content-based trademark

restriction[s].” Id. at 310 (emphasis added).

      Even if Vidal now requires a consideration of “history and tradition” in First

Amendment facial challenges, that inquiry would not make Appellees’ case.

Unlike the long history of restrictions on trademarking other people’s names, there

is no “historical analogue” for barring private actors from disclosing addresses and

phone numbers. Id. at 308. That information has been publicly available and

freely published throughout history. See Defs. Br. at 7-9, 31; see also Pls. Br. at 48




                                          13
        Case: 25-1555     Document: 82     Page: 30    Date Filed: 05/30/2025




(telephone directories were once “ubiquitous”); AG Br. at 25 (“most people’s

contact information is publicly available”). 4

      Nor does the common-law conception of privacy provide a historical basis

for restricting disclosure of addresses and phone numbers. AG Br. at 4-5; Pls. Br.

at 34-35. Historically, privacy did not extend to facts “freely available to the

public.” U.S. DOJ v. RCFP, 489 U.S. 749, 763 (1989). Thus, disclosing addresses

and phone numbers does not give rise to liability under privacy torts. Defs. Br. at

59-60; Philip E. Hassman, Public Addresses as Well as Name of Person as

Invasion of Privacy, 84 A.L.R.3d 1159 § 1 (1978) (even publication “with the

expectation that it would bring persons to that address to molest and harass the

occupants” would “not qualify for recovery”). 5




4
  The only appellate case cited to support Appellees’ reading of Vidal is
VoteAmerica, 121 F.4th at 850-51 (AG Br. at 21), which dealt with a prohibition
on distributing pre-filled mail ballot applications. That prohibition was a “time,
place, and manner restriction” that comported with “the history of regulations
(instructions) governing the filling out of noncontroversial information on
government forms.” Id.
5
  Plaintiffs cite only two cases where such claims were allowed. Pls. Br. at 27
n.12. Both involved disclosures about the location of individuals who faced
specific security risks. Capra v. Thoroughbred Racing Ass’n of N. Am., Inc., 787
F.2d 463, 464-45 (9th Cir. 1986) (individuals in witness protection, for whom jury
would need to “consider the extent to which the parties voluntarily exposed
themselves”); Hyde v. City of Columbia, 637 S.W.2d 251, 258 (Mo. Ct. App. 1982)
(abduction victim whose dangerous assailant was at large).
                                          14
        Case: 25-1555    Document: 82     Page: 31      Date Filed: 05/30/2025




      Finding no historical support for the privacy of addresses and phone

numbers, Appellees cite broad conceptions of “privacy in the home.” AG Br. at 2.

But Daniel’s Law does not regulate disclosures about what happens inside a home.

Nor does it protect against invasions of “personal information” disclosed in private

communications, whether through “eavesdropping,” confidential “letters,” or

communications with census takers. AG Br. at 4-5.

      Recognizing the Law has little in common with traditional conceptions of

“privacy,” Appellees advance a different conception – a person’s right to “control”

information – pointing to cases regulating government disclosures. Pls. Br. at 25;

AG Br. at 52; see also U.S. DOD v. FLRA, 510 U.S. 487, 500 (1994) (cited in Pls.

Br. at 26) (“privacy interest protected by [FOIA] ‘encompass[es] the individual’s

control of information concerning his or her person’” (quoting RCFP, 489 U.S. at

763)). Whatever “‘nontrivial’ privacy interest” a person has in their home address

when a law mandates the government must disclose it, A.A. ex rel. M.M. v. New

Jersey, 341 F.3d 206, 212-13 (3d Cir. 2003), that interest does not justify banning

private actors from repeating information already available to the public. See

Schrader, 74 F.4th at 127 (“the strength of those ‘privacy interests fade[s] once

information already appears on the public record’”).6


6
  Kallstrom v. City of Columbus, 136 F.3d 1055 (6th Cir. 1998) (cited in Pls. Br. at
24, 27), underscores the importance of address information actually being private
to be actionable. There, undercover police, for whom “[a]nonymity is essential,”
                                        15
        Case: 25-1555     Document: 82     Page: 32     Date Filed: 05/30/2025




      Finally, Appellees analogize to more recent laws that protect specific

records, including video rental history and driving records. AG Br. at 5. None of

those laws demonstrates a “history” of privacy in addresses and phone numbers.

And none implicates the right to publish information lawfully obtained from public

records, a right protected by the First Amendment. See, e.g., Cox Broad. Corp. v.

Cohn, 420 U.S. 469, 495 (1975); Defs. Br. at 28-29.

      The other modern laws Appellees cite are equally inapposite. See AG Br. at

6. Some apply only to the government. E.g., N.J.S.A. 2A:82-46(a); N.J.R. 1:38-

3(c)(12). Others create “address confidentiality” programs that offer participants a

substitute address and, in doing so, provide examples of less speech-restrictive

means that New Jersey could have deployed to protect at-risk covered

persons. See N.J.S.A. 47:4-1 et seq.; 23 Pa. C.S.A. §§ 6701 et seq.; Del. Code

Ann. tit. 11 §§ 9611 et seq.

      C.     The Daily Mail Test Does Not Supplant Strict Scrutiny.

      Appellees’ last effort to evade strict scrutiny is to create a lesser form of

scrutiny they claim is divined from Daily Mail and its progeny. Pls. Br. at 17-32;

AG Br. at 27-29. But, as this Court recognized in Schrader, the Daily Mail test

does not replace the requirement that content-based laws withstand strict scrutiny.


were permitted to pursue a claim against the government for disclosing their
addresses to counsel for gang members “with a propensity for violence” who were
“likely to seek revenge.” Id. at 1067.
                                        16
        Case: 25-1555     Document: 82     Page: 33     Date Filed: 05/30/2025




74 F.4th at 128 (Daily Mail test “stands apart from the content-focused analysis” of

strict scrutiny). No court, other than the district court below, has held otherwise.

      Tellingly, despite saying they support the district court’s approach, neither

Appellee actually argues in favor of the watered-down Daily Mail analysis it

adopted. Instead, they advocate two different approaches without citing a single

case to support either one. According to Plaintiffs, if a restriction targets speech

implicating some privacy interest and the speech is not a matter of public concern,

no scrutiny applies. Pls. Br. at 13 (“the Daily Mail test does not mandate further

scrutiny of speech that fails the threshold ‘public concern’ test”). That defies

foundational First Amendment precedent extending protection even to speech that

is “dry” and “devoid of advocacy, political relevance, or artistic expression.”

Universal City Studios, Inc. v. Corley, 273 F.3d 429, 446 (2d Cir. 2001) (collecting

cases); Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 759-60

(1985) (even false speech on “matters of purely private concern” is granted some

First Amendment protection).

      In contrast, the Attorney General theorizes that, where no public concern is

implicated, a law is subject to intermediate scrutiny. AG Br. at 28. It offers no

legal support for this theory, which has no basis in Supreme Court precedent. The

Daily Mail line of cases applies the “most exacting” scrutiny possible to certain

speech, Smith v. Daily Mail Publ’g Co., 443 U.S. 97, 101-102 (1979), holding that

                                          17
        Case: 25-1555     Document: 82     Page: 34    Date Filed: 05/30/2025




punishment for the publication of true, lawfully obtained information on matters of

public concern “may lawfully be imposed, if at all, only when narrowly tailored to

a state interest of the highest order,” Fla. Star v. B.J.F., 491 U.S. 524, 541 (1989)

(emphasis added). Those cases do not hold that lower scrutiny would be warranted

had the information at issue not been a matter of public concern. Nor do they

reaffirm a “settled framework” of lesser scrutiny for content-based privacy laws.

Pls. Br. at 23; see, e.g., IMDb.com v. Becerra, 962 F.3d 1111, 1123 (9th Cir.

2020). The Supreme Court instead has instructed that content-based laws cannot

avoid strict scrutiny based on a “perception” that the restricted speech “is not very

important.” Playboy, 529 U.S. at 826.

      Accordingly, either of Appellees’ approaches would effect a sea change in

First Amendment jurisprudence. Any content-based law passed in the name of

“privacy” could evade stringent constitutional scrutiny.

      To make their theories work, Appellees seek to cabin “public concern” to

mean only “newsworthy.” E.g., AG Br. at 51. The category is far broader.

Speech involves a matter of public concern whenever its subject matter is “of

general interest and of value and concern to the public at the time of publication.”

Pls. Br. at 31 (quoting City of San Diego v. Roe, 543 U.S. 77, 84, (2004)).

Addresses and phone numbers are undoubtedly of general interest and value to the

public. As the district court recognized, and Daniel’s Law itself confirms, their

                                         18
        Case: 25-1555      Document: 82       Page: 35   Date Filed: 05/30/2025




availability is necessary for a knowledgeable, functioning society, including to

facilitate commercial transactions and political speech. Defs. Br. at 7-9, 49-51;

e.g., N.J.S.A. 47:1B-3(1)(b), (2) (allowing government disclosures to political

parties and for real estate transactions).7

      Thus, the public interest in disclosing this information is even stronger than

in Florida Star. The government disclosure there (a rape victim’s name) was made

contrary to state policy. Fla. Star, 491 U.S. at 536. Here, the government has

made this information available for public use. Yet its republication is being

punished. That is unconstitutional. See id. at 539 (if newspaper “merely

reproduced” information “released by the Department, imposing civil damages

would surely violate the First Amendment”); Cox Broad., 420 U.S. at 496

(expressing “reluct[ance] to embark on a course that would make public records

generally available to the media but forbid their publication”).




7
  Plaintiffs incorrectly claim Defendants “forfeited any challenge to the District
Court’s ruling that the statute does not regulate speech on a matter of public
concern in most of its applications.” Pls. Br. at 29; see, e.g., Atlas Data Privacy
Corp. v. Whitepages, Inc., No. 24-3998 (D.N.J.) (ECF 41) (arguing information at
issue is matter of public concern and protected by Daily Mail test). In any event,
the bases for denying the motions to dismiss and holding the Law is not facially
unconstitutional are properly before this Court. See Moriarty v. Svec, 164 F.3d
323, 328 (7th Cir. 1998) (“appellant can always challenge the legal theory upon
which the district court relied”).
                                           19
        Case: 25-1555     Document: 82     Page: 36    Date Filed: 05/30/2025




       D.    Applying Strict Scrutiny Would Not Render Other Laws
             Unconstitutional.
       Amicus EPIC ominously warns that if Daniel’s Law is subject to strict

scrutiny, “virtually all data protection laws are presumptively unconstitutional,”

citing laws protecting consumer privacy, health information, credit history,

financial information, biometric data, and location data. EPIC Br. at 22-25. This

slippery slope argument elides a basic point: The laws EPIC cites are

fundamentally different, regulating the use of information disclosed in confidence,

exchanged in commercial transactions, or collected through biometric or location-

tracking technology – not from public records. Unlike those laws, Daniel’s Law

applies to disclosure of public information by any person, regardless of the

information’s source or use. Applying strict scrutiny to Daniel’s Law says nothing

about whether other laws – with distinct subject matters and more narrowly

tailored scopes – are subject to or would withstand strict scrutiny.

III.   THE LAW FAILS ANY LEVEL OF SCRUTINY.

       At bottom, Daniel’s Law cannot withstand any level of scrutiny. Even under

intermediate scrutiny, Appellees cannot meet their burden of showing the Law is

“narrowly tailored to serve a significant governmental interest.” Packingham v.

N.C., 582 U.S. 98, 105-06 (2017).




                                         20
        Case: 25-1555     Document: 82     Page: 37    Date Filed: 05/30/2025




      A.     The Notice Provision Does Not Constitute Narrow Tailoring.

      The Attorney General argues the Law is narrowly tailored because it

includes an “opt-in” notice provision, comparing it to “opt-in” regimes like

do-not-call registries. AG Br. at 39-40 (collecting cases). Those registries protect

an “aspect of privacy” not relevant here: “protection of the unwilling listener.”

Nat’l Fed’n of the Blind v. FTC, 420 F.3d 331, 340 (4th Cir. 2005); see also, e.g.,

Martin v. City of Struthers, 319 U.S. 141, 148 (1943) (leaving decision on whether

distributor “may lawfully call at a home . . . with the homeowner”). The

do-not-call laws also do not ban speech; they restrict “only one avenue” of

communication and ensure speakers have “a number of options” to engage in the

same speech. Mainstream Mktg. Servs., Inc. v. FTC, 358 F.3d 1228, 1243 (10th

Cir. 2004). In contrast, Daniel’s Law gives a person the power to censor all

“disclosures” by a would-be speaker.

      B.     The Law Improperly Permits Disclosures Posing Identical Risks.

      According to Appellees, the Law’s expansive sweep “is necessary to

adequately advance the law’s interests.” AG Br. at 40. Plaintiffs claim, for

example, that barring “legitimate business-to-business disclosures” is necessary

because all disclosures “create an obvious risk of ‘unauthorized subsequent

disclosures.’” Pls. Br. at 40; see also AG Br. at 53 (asserting “risks associated with

widespread dissemination by private entities”). But allowing the government to

                                          21
        Case: 25-1555     Document: 82    Page: 38     Date Filed: 05/30/2025




make identical kinds of disclosures to private entities – whether “mortgage

originators,” “title insurers,” or any “vendor” or “organization” with a government

contract – poses this same “obvious risk.” Pls. Br. at 9-10, 32-33. Plaintiffs do not

explain how the government providing information to any real estate broker in the

“ordinary course of business” presents “limited risks,” id. at 43-44, compared to a

private entity providing the same information to the same broker, let alone to law

enforcement authorities to conduct investigations or financial institutions to detect

fraud, Defs. Br. at 16.

      Plaintiffs spill substantial ink attempting to justify the numerous exemptions

allowing government disclosures, Pls. Br. at 6-10, but ignore another glaring

problem: The government’s nondisclosure obligations are not triggered unless

covered persons seek redaction, and there is no requirement to do so. Nor is there

a remedy if the government fails to honor a redaction request.

      Appellees attempt to explain away this loophole by claiming covered

persons might have “good reason” to forgo redacting public records. Pls. Br. at 49;

AG Br. at 42. That may be so. But, according to Appellees, grave risks are posed

by any disclosure, “good reason” or not. See AG Br. at 40; Pls. Br. at 39-40.

Allowing covered persons to seek liquidated damages against private entities while

those same persons let the government freely disclose their contact information




                                         22
          Case: 25-1555    Document: 82    Page: 39   Date Filed: 05/30/2025




fails to advance the government’s interests “to a material degree.” Pitt News v.

Pappert, 379 F.3d 96, 107 (3d Cir. 2004).

         The same risks also arise when covered persons publish the information

themselves, as some plaintiffs have done here. Defs. Br. at 34. Plaintiffs argue it

would be “absurd[]” to “prohibit covered persons from disclosing their own”

information. Pls. Br. at 49. But the point is not that covered persons should be

barred from disclosing their contact information. Rather, if they choose to disclose

it publicly, they should not be able to recover money damages when others repeat

it. Indeed, other laws limit liability when covered persons decide to make their

information publicly available. Daniel Anderl Judicial Security and Privacy Act of

2022 (“Federal Daniel’s Law”), Pub. L. No. 117-263, § 5934(d), 136 Stat. 2395,

3464-65 (2022); Md. Code Ann., Cts. & Jud. Proc. § 3-2301(d)(2).

         Appellees defend the mandatory liability New Jersey’s Law imposes by

asserting a covered person’s right to “control” the information. Pls. Br. at 49; AG

Br. at 52. But that is not the “compelling interest” asserted by the Law. Allowing

covered persons to choose which entities to censor – while letting the same

information appear publicly on their social media, in government records, and

through any entity they choose not to target – provides the same “limitless

backdoor” Plaintiffs claim would “negate the entire purpose” of the Law. Pls. Br.

at 40.

                                          23
        Case: 25-1555     Document: 82     Page: 40    Date Filed: 05/30/2025




      In seeking to justify the Law’s holes, Appellees turn First Amendment

burdens and constitutional limits on privacy claims upside-down. See Fla. Star,

491 U.S. at 534, 539 (liability cannot be imposed if information is “already known

throughout the community” or plaintiff “voluntarily called attention to” it);

Schrader, 74 F.4th at 127 (“When ‘the government has failed to police itself in

disseminating information,’ prosecuting someone who later publishes that

information ‘can hardly be said to be a narrowly tailored means of safeguarding’

confidentiality.”); Ostergren v. Cuccinelli, 615 F.3d 263, 286-87 (4th Cir. 2010)

(barring plaintiff’s speech was not “narrowly tailored” due to state’s “failure to

redact SSNs before placing land records online”).

      C.     The Law’s Other Features Dramatically Expand Its Sweep.

      The Law’s other features – enacted through recent amendments – burden

additional speech without materially advancing the government’s interest.

      Plaintiffs contend a verification requirement would be “burdensome” and

“extraordinary,” Pls. Br. at 46, but fail to square that with the government’s

verification requirement for redaction and with other laws – including New

Jersey’s own data privacy law – that enable verification. See, e.g., Md. Code Ann.,

Cts. & Jud. Proc. § 3-2303; N.J.S.A. 56:8-166.7 (requiring “verified request” and

exempting requests entities are “unable to authenticate”). Despite Plaintiffs’

claims otherwise, Pls. Br. at 47 n.16, verification was required under the Law

                                          24
        Case: 25-1555     Document: 82     Page: 41     Date Filed: 05/30/2025




previously, a change that remains unexplained. See 2021 N.J. Sess. Law Serv. Ch.

371 § 8. The Attorney General responds that a verification mechanism is

unnecessary because an entity can ask follow-up questions and assert “statutory or

as-applied defenses.” AG Br. at 42. This response is cold comfort. The Law does

not include any statutory defenses based on lack of verification, and the Attorney

General provides no constitutional basis for a theoretical as-applied challenge.

      Appellees next contend that because the Law’s claim-assignment and

liquidated damages provisions do not themselves restrict speech, they are not

constitutionally relevant. Pls. Br. at 47; AG Br. at 42-43. For support, they cite a

case holding only that a statute’s “penalties do not offend the First Amendment

simply because of their criminal character.” Free Speech Coal., Inc. v. Att’y Gen.

United States, 974 F.3d 408, 425 (3d Cir. 2020) (emphasis added). The Supreme

Court, however, has recognized that the nature and extent of penalties can

impermissibly stifle protected speech. See, e.g., ACLU, 542 U.S. at 660 (“Content-

based prohibitions, enforced by severe criminal penalties, have the constant

potential to be a repressive force . . . .”); Ashcroft v. Free Speech Coal., 535 U.S.

234, 244 (2002) (“[w]hile even minor punishments can chill protected speech,”

“severe” penalties are particularly burdensome). Indeed, the Court has held that

steep civil penalties can have a profound chilling effect on First Amendment




                                          25
        Case: 25-1555     Document: 82     Page: 42     Date Filed: 05/30/2025




freedoms. See N.Y. Times Co. v. Sullivan, 376 U.S. 254, 277-78 (1964)

(recognizing “inhibiting” effect of the “fear of damage awards”).

      This risk is not a “fantastical hypothetical.” AG Br. at 43. The cases before

this Court seek hundreds of millions of dollars. More than 100 identical Atlas-

initiated cases are pending in state court, with potential exposure totaling billions

of dollars. Plaintiffs counter that, “without the threat of monetary liability,

defendants would have virtually no incentive to comply with the law.” Pls. Br. at

48. This claim has no support in the legislative record and is “little more than

assertion and conjecture.” Schrader, 74 F.4th at 127.8 So too is Plaintiffs’ claim

that assignees are needed to “identify, monitor, and bring suit.” Pls. Br. at 47. No

other government has enacted such a regime. 9

      Taken together, these provisions grant certain individuals broad censorial

power – wielded through mandatory penalties and massive payouts for third parties

– without any guarantee that the censorship will “materially advance” a

government interest. That fails any type of scrutiny.


8
 Plaintiffs claim “many defendants are still not compliant with the law,” citing a
complaint’s allegation from February 2024. Pls. Br. at 12. Nothing in the record
supports that allegation, much less shows it is true 15 months later.
9
 The Attorney General refers to the federal and Delaware laws as having “claim-
assignment” provisions. AG Br. at 11 n.1. They do not. Those laws allow
designated individuals to send notices – not file suit – on behalf of covered
persons. See Federal Daniel’s Law § 5934(b)(1), 136 Stat. at 3462; Del. Code
Ann. tit. 10 § 1924(d).
                                         26
        Case: 25-1555     Document: 82    Page: 43     Date Filed: 05/30/2025




      D.        Similar Laws Are More Narrowly Tailored.

      In a final effort to save the Law, the Attorney General compares various of

its provisions to isolated provisions in similar laws. AG Br. at 11. These cherry-

picked comparisons ignore significant differences that make New Jersey’s Law the

broadest and most punitive. Defs. Br. at 37-39. Unlike other laws, New Jersey’s is

not limited to public disclosures or circumstances where a person “reasonably

should know” the risk of harm to a specific individual. The Law – as amended –

applies to any disclosure by any person who receives a takedown notice, regardless

of why, how, where, or to whom the information is made available, or whether the

information remains publicly available from the government or covered persons

themselves. It also is the only law to enforce this absolute ban with an assignment-

based strict-liability regime, which the Legislature adopted without explanation.

Id. at 11-12.

      Appellees do not try to justify the Law’s departure from similar laws or its

increasingly speech-restrictive amendments. Instead, the Attorney General insists

the Legislature’s “fail[ure] to articulate sufficient reasons” for the amendments has

no “bearing on the law’s constitutionality.” AG Br. at 53 n.12. Not so. See Sable

Commc’ns of California, Inc. v. FCC, 492 U.S. 115, 130 (1989) (invalidating law

where congressional record contained “no evidence as to how effective or

ineffective” previous, less-restrictive regulations “were or might prove to be”);

                                         27
        Case: 25-1555     Document: 82     Page: 44    Date Filed: 05/30/2025




Playboy, 529 U.S. at 822-23 (invalidating law where “near barren legislative

record” offered “[n]o support” for the effectiveness of the statute, as compared to

less-restrictive alternatives). Even in the lone case the Attorney General cites, the

Supreme Court explained it would not “displace Congress’s judgment” when

evaluating a content-neutral law under intermediate scrutiny, “so long as its policy

is grounded on reasonable factual findings supported by evidence that is substantial

for a legislative determination.” Turner Broad. Sys., Inc. v. F.C.C., 520 U.S. 180,

224 (1997). Here, Appellees point to no factual findings or evidence supporting

the uniquely restrictive aspects of Daniel’s Law.

IV.   THE LAW HAS NO MENS REA REQUIREMENT AND
      THEREFORE SHOULD BE INVALIDATED.

      Appellees concede the First Amendment forbids punishing speech on a strict

liability basis. Defs. Br. at 53-55. They fail, however, to address the federal

appellate decisions striking down laws for this reason. Id. at 58 (citing Video

Software Dealers Ass’n v. Webster, 968 F.2d 684, 691 (8th Cir. 1992); Am.-Arab

Anti-Discrimination Comm. v. City of Dearborn, 418 F.3d 600, 613 (6th Cir.

2005)). Like those laws, the current Daniel’s Law contains no mens rea

requirement. Consistent with precedent set by the Sixth and Eighth Circuits, the

Law should be invalidated.

      Appellees’ arguments for saving the Law all fail. First, the Attorney

General claims that, as originally drafted, the Law “allowed civil remedies for
                                          28
        Case: 25-1555     Document: 82     Page: 45     Date Filed: 05/30/2025




negligent conduct” and that the “current version retains that architecture.” AG Br.

at 46. In reality, the Legislature removed that foundation and built a new structure

through its amendments, now providing violators “shall be liable.” N.J.S.A. 56:8-

166.1(b), (c) (“court shall award” actual damages). By excising the Law’s

preexisting scienter requirement, the Legislature “pointedly decided not to include”

one. State v. Pomianek, 110 A.3d 841, 855 (N.J. 2015). The Law’s new language

“expressly require[s]” courts to impose liability without fault, just as in the cases

cited by Plaintiffs. Pls. Br. at 52 (quoting Mascola v. Mascola, 401 A.2d 1114,

1118 (N.J. Super. Ct. App. Div. 1979)). In Goldhagen v. Pasmowitz, the New

Jersey Supreme Court recognized that the Legislature “expanded the liability of

dog owners by imposing a standard of strict liability in dog-bite cases” when it

enacted a law stating that owners “shall be liable for such damages” – the same

language the Legislature adopted in Daniel’s Law. 255 A.3d 1191, 1198 (N.J.

2021) (cited in Pls. Br. at 52). Here, as there, the Legislature “changed the law

theretofore existing in that it made liability absolute upon the happening of the

act.” Id. at 1199.

      Second, Appellees claim that a statute must be construed to conform to the

Constitution. Pls. Br. at 51; AG Br. at 45. As they acknowledge, however, the

principle of constitutional avoidance arises only where a statute is “reasonably

susceptible” to two meanings. Pls. Br. at 51 (quoting Gallenthin Realty Dev., Inc.

                                          29
        Case: 25-1555     Document: 82    Page: 46     Date Filed: 05/30/2025




v. Borough of Paulsboro, 924 A.2d 447, 457 (N.J. 2007)); AG Br. at 44. Here, the

Law’s text provides only one reasonable interpretation: It imposes strict liability.

Defs. Br. at 56-58. The district court’s “inclusion of a negligence standard,”

JA120, was the type of “obvious” rewrite New Jersey precedent forecloses. Pls.

Br. at 53 n.18; Usachenok v. Department of the Treasury, 313 A.3d 53, 63 (N.J.

2024) (court can “excise a constitutional defect or engraft a needed meaning,” not

“expand and rewrite” text).

      Third, Appellees claim the Law should be interpreted in light of “common

law analogues.” Pls. Br. at 52 (quoting Evans-Aristocrat Indus., Inc. v. Newark,

380 A.2d 268, 272-73 (N.J. 1977)); AG Br. at 46 (invoking “tort principles”). This

principle of statutory interpretation is inapplicable because the Law’s text

“provide[s] a definitive answer.” Evans-Aristocrat, 380 A.2d at 272. Regardless,

Daniel’s Law has no “common law analogue.” The Legislature departed from

traditional privacy principles to authorize covered persons to punish speech not

actionable under common law, using methods unavailable at common law. See

supra at 14; see also RESTATEMENT (SECOND) OF TORTS § 652I cmt. a (privacy is a

“personal right” and therefore “cause of action is not assignable”).

      Fourth, Appellees claim the Law’s notice provision creates a de facto

negligence standard. Pls. Br. at 54; AG Br. at 45. According to the Attorney

General, that provision demonstrates the Legislature “did not want entities held

                                         30
        Case: 25-1555        Document: 82   Page: 47   Date Filed: 05/30/2025




responsible for disclosures they could not have reasonably avoided.” AG Br. at 45.

But the Law does not include the word “reasonably,” and this de facto negligence

standard is equivalent to the “negligence per se standard” rejected in Florida Star,

491 U.S. at 539; Defs. Br. at 54-55.

      Finally, Appellees argue that a defendant’s state of mind is only relevant as

to the “risk that disclosing a covered person’s protected information will violate

their rights” under the Law. Pls. Br. at 54 n.19; see also AG Br. at 48-49. That

circular logic is insufficient. First Amendment precedent demands that the

culpability standard be tied to the harm a speech restriction seeks to prevent. Defs.

Br. 58-60. Appellees do not address that precedent.

                                    CONCLUSION

      Defendants respectfully request that the Court hold N.J.S.A. 56:8-166.1

facially unconstitutional.




                                            31
       Case: 25-1555   Document: 82   Page: 48   Date Filed: 05/30/2025




Dated: May 30, 2025             BALLARD SPAHR LLP

                                /s/ Michael Berry
                                Marcel S. Pratt
                                Michael Berry
                                Anna Kaul
                                1735 Market Street, 51st Floor
                                Philadelphia, PA 19103-7599
                                (215) 864-8500
                                prattm@ballardspahr.com
                                berrym@ballardspahr.com
                                kaula@ballardspahr.com

                                Attorneys for Defendants-Appellants
                                Thomson Reuters Enterprise Centre GmbH and
                                West Publishing Corporation
                                (No. 25-1570)

                                TROUTMAN PEPPER LOCKE LLP

                                /s/ Angelo A. Stio III
                                Angelo A. Stio III
                                Melissa A. Chuderewicz
                                Stephanie L. Jonaitis
                                Suite 400
                                301 Carnegie Center
                                Princeton, NJ 08540-6227
                                (609) 951-4125
                                Angelo.Stio@troutman.com
                                Melissa.Chuderewicz@troutman.com
                                Stephanie.Jonaitis@troutman.com

                                Attorneys for Defendant-Appellant
                                RocketReach LLC (No. 25-1582)




                                      32
Case: 25-1555   Document: 82   Page: 49   Date Filed: 05/30/2025




                         TROUTMAN PEPPER LOCKE LLP

                         /s/ Angelo A. Stio III
                         Angelo A. Stio III
                         Melissa A. Chuderewicz
                         Stephanie L. Jonaitis
                         Suite 400
                         301 Carnegie Center
                         Princeton, NJ 08540-6227
                         (609) 951-4125
                         Angelo.Stio@troutman.com
                         Melissa.Chuderewicz@troutman.com
                         Stephanie.Jonaitis@troutman.com

                         Attorneys for Defendant-Appellant
                         Deluxe Corp. (No. 25-1559)

                         TROUTMAN PEPPER LOCKE LLP

                         /s/ Angelo A. Stio III
                         Angelo A. Stio III
                         Melissa A. Chuderewicz
                         Stephanie L. Jonaitis
                         Suite 400
                         301 Carnegie Center
                         Princeton, NJ 08540-6227
                         (609) 951-4125
                         Angelo.Stio@troutman.com
                         Melissa.Chuderewicz@troutman.com
                         Stephanie.Jonaitis@troutman.com

                         Attorneys for Defendant-Appellant
                         PropertyRadar Inc. (No. 25-1584)




                               33
Case: 25-1555   Document: 82   Page: 50   Date Filed: 05/30/2025




                         TROUTMAN PEPPER LOCKE LLP

                         /s/ Angelo A. Stio III
                         Angelo A. Stio III
                         Melissa A. Chuderewicz
                         Stephanie L. Jonaitis
                         Suite 400
                         301 Carnegie Center
                         Princeton, NJ 08540-6227
                         (609) 951-4125
                         Angelo.Stio@troutman.com
                         Melissa.Chuderewicz@troutman.com
                         Stephanie.Jonaitis@troutman.com

                         Attorneys for Defendant-Appellant
                         DM Group Inc. (No. 25-1558)

                         SEYFARTH SHAW LLP

                         /s/ Robert T. Szyba
                         Robert T. Szyba
                         620 Eighth Avenue, 32nd Floor
                         New York, NY 10018
                         (212) 218-5500
                         rszyba@seyfarth.com

                         Attorneys for Defendants-Appellants
                         We Inform, LLC (No. 25-1555);
                         Infomatics, LLC (No. 25-1556); and
                         The People Searchers, LLC (No. 25-1557)




                               34
Case: 25-1555   Document: 82     Page: 51   Date Filed: 05/30/2025




                         GORDON REES SCULLY
                         MANSUKHANI LLP

                         /s/ Clair E. Wischusen
                         Clair E. Wischusen
                         291 W. Mt. Pleasant Avenue
                         Suite 3310
                         Livingston, NJ 070369
                         (973) 549-2500
                         cwischusen@grsm.com

                         Attorneys for Defendants-Appellants
                         Quantarium Alliance, LLC and Quantarium
                         Group, LLC (No. 25-1560)

                         QUINN EMANUEL URQUHART &
                         SULLIVAN, LLP

                         /s/ Derek L. Shaffer
                         Derek L. Shaffer
                         1300 I Street NW, Suite 900
                         Washington D.C., 20005
                         (202) 538-8000
                         derekshaffer@quinnemanuel.com

                         -and-

                         Owen B. Smitherman
                         300 West 6th St, Suite 2010
                         Austin, TX 78701
                         (737) 667-6100
                         owensmitherman@quinnemanuel.com

                         Attorneys for Defendant-Appellant
                         Yardi Systems, Inc. (No. 25-1561)




                               35
Case: 25-1555   Document: 82   Page: 52   Date Filed: 05/30/2025




                         LOMURRO, MUNSON, LLC

                         /s/ Eric H. Lubin
                         Eric H. Lubin
                         Monmouth Executive Center
                         4 Paragon Way, Suite 100
                         Freehold, NJ 07728
                         (732) 414-0300
                         ELubin@lomurrolaw.com

                         Attorneys for Defendants-Appellants
                         Digital Safety Products, LLC (No. 25-1562);
                         Civil Data Research (No. 25-1563); and
                         Scalable Commerce & National Data
                         Analytics (No. 25-1564)

                         COOPER, LLC – COUNSELORS AT
                         LAW

                         /s/ Ryan J. Cooper
                         Ryan J. Cooper
                         Renier Pierantoni
                         108 N. Union Ave., Suite 4
                         Cranford, NJ 07016
                         ryan@cooperllc.com
                         renier@cooperllc.com

                         Attorneys for Defendant-Appellant
                         Labels & Lists, Inc. (No. 25-1565)




                               36
Case: 25-1555   Document: 82   Page: 53    Date Filed: 05/30/2025




                         FISHERBROYLES LLP

                         /s/ Jason A. Spak
                         Jason A. Spak
                         6360 Broad Street #5262
                         Pittsburgh, PA 15206
                         (412) 401-2000
                         jason.spak@fisherbroyles.com

                         Attorneys for Defendant-Appellant
                         Innovis Data Solutions, Inc. (No. 25-1566)

                         CONSTANGY, BROOKS, SMITH &
                         PROPHETE, LLP

                         /s/ John E. MacDonald
                         John E. MacDonald
                         3120 Princeton Pike, Suite 301
                         Lawrenceville, NJ 08648
                         (609) 454-0096
                         jmacdonald@constangy.com

                         Attorneys for Defendants-Appellants
                         Accurate Append, Inc. (No. 25-1567); and
                         Restoration of America, Inc. and Voter
                         Reference Foundation, LLC (No. 25-1572)




                               37
Case: 25-1555   Document: 82   Page: 54    Date Filed: 05/30/2025




                         BUCHANAN INGERSOLL & ROONEY PC

                         /s/ Samantha L. Southall
                         Samantha L. Southall
                         Two Liberty Place
                         50 S. 16th Street, Suite 3200
                         Philadelphia, PA 19102-2555
                         (215) 665-3800
                         samantha.southall@bipc.com

                         Attorneys for Defendants-Appellants Zillow Inc.
                         and Zillow Group, Inc. (No. 25-1568)

                         GIBBONS P.C.

                         /s/ Frederick W. Alworth
                         Frederick W. Alworth
                         Kevin R. Reich
                         One Gateway Center
                         Newark, NJ 07102-5310
                         (973) 596-4500
                         falworth@gibbonslaw.com
                         kreich@gibbonslaw.com

                         Attorneys for Defendant-Appellant
                         Equimine, Inc. (No. 25-1569)




                               38
Case: 25-1555   Document: 82   Page: 55   Date Filed: 05/30/2025




                         RIKER DANZIG LLP

                         /s/ Michael P. O’Mullan
                         Michael P. O’Mullan
                         Headquarters Plaza
                         One Speedwell Avenue
                         Morristown, NJ 07962
                         (973) 451-8477
                         momullan@riker.com

                         Attorneys for Defendant-Appellant
                         Melissa Data Corporation (No. 25-1571)

                         STINSON LLP

                         /s/ Richard J.L. Lomuscio
                         Richard J.L. Lomuscio
                         100 Wall Street, Suite 201
                         New York, New York 10005
                         (646) 883-7471
                         richard.lomuscio@stinson.com

                         Attorneys for Defendant-Appellant
                         i360, LLC (No. 25-1573)




                               39
Case: 25-1555   Document: 82     Page: 56   Date Filed: 05/30/2025




                         GREENBERG TRAURIG, LLP

                         /s/ David E. Sellinger
                         David E. Sellinger
                         Aaron Van Nostrand
                         500 Campus Drive, Suite 400
                         Florham Park, NJ 07932-0677
                         (973) 443-3557
                         sellingerd@gtlaw.com
                         vannostranda@gtlaw.com

                         Attorneys for Defendants-Appellants
                         GoHunt, LLC, GoHunt Management
                         Holdings, LLC, and GoHunt Management
                         Holdings II, LLC (No. 25-1574)

                         GREENSPOON MARDER LLP

                         /s/ Kelly M. Purcaro
                         Kelly M. Purcaro
                         Kory Ann Ferro
                         One Riverfront Plaza
                         1037 Raymond Blvd., Suite 900
                         Newark, NJ 07102
                         (732) 456-8746
                         Kelly.Purcaro@gmlaw.com
                         KoryAnn.Ferro@gmlaw.com
                         -and-
                         LOWENSTEIN SANDLER LLP

                         /s/ Jennifer Fiorica Delgado
                         Jennifer Fiorica Delgado
                         One Lowenstein Drive
                         Roseland, NJ 07068
                         (646) 414-6962
                         jdelgado@lowenstein.com

                         Attorneys for Defendant-Appellant
                         AccuZip, Inc. (No. 25-1575)
                               40
Case: 25-1555   Document: 82   Page: 57   Date Filed: 05/30/2025




                         LEWIS BRISBOIS BISGAARD &
                         SMITH, LLP

                         /s/ Matthew S. AhKao
                         Matthew S. AhKao
                         One Riverfront Plaza, Suite 800
                         Newark, NJ 07102
                         (973) 577-6260
                         Matthew.AhKao@lewisbrisbois.com

                         Attorneys for Defendant-Appellant
                         Synaptix Technology, LLC (No. 25-1576)

                         GREENSPOON MARDER LLP

                         /s/ Kelly M. Purcaro
                         Kelly M. Purcaro
                         Kory Ann Ferro
                         One Riverfront Plaza
                         1037 Raymond Blvd., Suite 900
                         Newark, NJ 07102
                         (732) 456-8746
                         Kelly.Purcaro@gmlaw.com
                         KoryAnn.Ferro@gmlaw.com

                         Attorneys for Defendant-Appellant
                         Joy Rockwell Enterprises, Inc. d/b/a
                         PostcardMania PCM LLC (No. 25-1577)




                               41
Case: 25-1555   Document: 82     Page: 58   Date Filed: 05/30/2025




                         THOMPSON HINE LLP

                         /s/ J. Timothy McDonald
                         J. Timothy McDonald
                         Two Alliance Center
                         3560 Lenox Road, Suite 1600
                         Atlanta, Georgia 30326
                         (404) 541-2906
                         Tim.McDonald@ThompsonHine.com

                         -and-

                         Steven G. Stransky (application for
                         admission pending)
                         127 Public Square, #3900
                         Cleveland, OH 44114
                         (216) 566-5500
                         Steve.Stransky@ThompsonHine.com

                         Attorneys for Defendant-Appellant
                         Fortnoff Financial, LLC (No. 25-1578)

                         RKW, LLC

                         /s/ H. Mark Stichel
                         H. Mark Stichel
                         10075 Red Run Blvd., 4th Floor
                         Owings Mills, MD 21117
                         (443) 379-8987
                         HMStichel@RKWlawgroup.com

                         Attorneys for Defendant-Appellant
                         E-Merges.com, Inc. (No. 25-1580)




                               42
Case: 25-1555   Document: 82   Page: 59   Date Filed: 05/30/2025




                         GORDON REES SCULLY
                         MANSUKHANI LLP

                         /s/ Clair E. Wischusen
                         Clair E. Wischusen
                         291 W. Mt. Pleasant Avenue
                         Suite 3310
                         Livingston, NJ 07039
                         (973) 549-2500
                         cwischusen@grsm.com

                         Attorneys for Defendant-Appellant
                         Nuwber, Inc. (No. 25-1581)

                         BLANK ROME LLP

                         /s/ Stephen M. Orlofsky
                         Stephen M. Orlofsky
                         Philip N. Yannella
                         Thomas P. Cialino
                         300 Carnegie Center, Suite 220
                         Princeton, NJ 08540
                         (609) 750-2646
                         Stephen.Orlofsky@BlankRome.com
                         Philip.Yannella@BlankRome.com
                         Thomas.Cialino@BlankRome.com

                         Attorneys for Defendant-Appellant
                         Belles Camp Communications, Inc.
                         (No. 25-1583)




                               43
Case: 25-1555   Document: 82   Page: 60   Date Filed: 05/30/2025




                         GREENSPOON MARDER LLP

                         /s/ Kelly M. Purcaro
                         Kelly M. Purcaro
                         Kory Ann Ferro
                         One Riverfront Plaza
                         1037 Raymond Blvd., Suite 900
                         Newark, NJ 07102
                         (732) 456-8746
                         Kelly.Purcaro@gmlaw.com
                         KoryAnn.Ferro@gmlaw.com

                         Attorneys for Defendant-Appellant
                         The Alesco Group, L.L.C. (improperly pled as
                         Alesco AI, LLC, Alesco Marketing Solutions,
                         L.L.C., Stat Resource Group Inc., and Response
                         Solutions Group, LLC)
                         (No. 25-1585)

                         GREENSPOON MARDER LLP

                         /s/ Kelly M. Purcaro
                         Kelly M. Purcaro
                         Kory Ann Ferro
                         One Riverfront Plaza
                         1037 Raymond Blvd., Suite 900
                         Newark, NJ 07102
                         (732) 456-8746
                         Kelly.Purcaro@gmlaw.com
                         KoryAnn.Ferro@gmlaw.com

                         Attorneys for Defendant-Appellant
                         Searchbug, Inc. (No. 25-1586)




                               44
Case: 25-1555   Document: 82   Page: 61   Date Filed: 05/30/2025




                         GREENSPOON MARDER LLP

                         /s/ Kelly M. Purcaro
                         Kelly M. Purcaro
                         Kory Ann Ferro
                         One Riverfront Plaza
                         1037 Raymond Blvd., Suite 900
                         Newark, NJ 07102
                         (732) 456-8746
                         Kelly.Purcaro@gmlaw.com
                         KoryAnn.Ferro@gmlaw.com

                         Attorneys for Defendant-Appellant
                         Amerilist, Inc. (No. 25-1587)

                         GREENSPOON MARDER LLP

                         /s/ Kelly M. Purcaro
                         Kelly M. Purcaro
                         Kory Ann Ferro
                         One Riverfront Plaza
                         1037 Raymond Blvd., Suite 900
                         Newark, NJ 07102
                         (732) 456-8746
                         Kelly.Purcaro@gmlaw.com
                         KoryAnn.Ferro@gmlaw.com

                         Attorneys for Defendant-Appellant
                         US Data Corporation (No. 25-1588)




                               45
Case: 25-1555   Document: 82   Page: 62   Date Filed: 05/30/2025




                         MANATT, PHELPS & PHILLIPS, LLP

                         /s/ Kenneth D. Friedman
                         Kenneth D. Friedman
                         7 Times Square
                         New York, NY 10036
                         (212) 790-4500
                         kfriedman@manatt.com

                         Attorneys for Defendant-Appellant
                         Smarty, LLC d/b/a SmartyStreets, LLC
                         (No. 25-1589)

                         WOOD, SMITH, HENNING & BERMAN
                         LLP

                         /s/ Jared K. Levy
                         Jared K. Levy
                         400 Connell Drive, Suite 1100
                         Berkeley Heights, NJ 07922
                         (973) 265-9901
                         jlevy@wshblaw.com

                         Attorneys for Defendants-Appellants
                         Compact Information Systems, LLC, Accudata
                         Integrated Marketing, Inc., Alumnifinder, ASL
                         Marketing, Inc., College Bound Selection
                         Services, Deepsync Labs, Homedata, and
                         Student Research Group (No. 25-1590)




                               46
Case: 25-1555   Document: 82     Page: 63   Date Filed: 05/30/2025




                         GREENSPOON MARDER LLP

                         /s/ Kelly M. Purcaro
                         Kelly M. Purcaro
                         Kory Ann Ferro
                         One Riverfront Plaza
                         1037 Raymond Blvd., Suite 900
                         Newark, NJ 07102
                         (732) 456-8746
                         Kelly.Purcaro@gmlaw.com
                         KoryAnn.Ferro@gmlaw.com
                         -and-
                         RAJ FERBER PLLC
                         Kiran Raj
                         1629 K Street NW, Suite 300
                         Washington, DC 20006
                         (202) 827-9785
                         kiran@rajferber.com

                         Attorneys for Defendant-Appellant
                         DarkOwl, LLC (No. 25-1591)

                         KAUFMAN DOLOWICH LLP
                         /s/ Christopher Nucifora
                         Christopher Nucifora, Esq.
                         Timothy M. Ortolani, Esq.
                         Court Plaza North
                         25 Main Street, Suite 500
                         Hackensack, New Jersey 07601
                         (201) 708-8207
                         cnucifora@kaufmandolowich.com
                         tortolani@kaufmandolowich.com

                         Attorneys for Defendant-Appellant Spy Dialer,
                         Inc. (No. 25-1592)




                               47
Case: 25-1555   Document: 82   Page: 64    Date Filed: 05/30/2025




                         STARR, GERN, DAVISON & RUBIN, P.C.
                         /s/ Ronald L. Davison
                         Ronald L. Davison, Esq.
                         105 Eisenhower Parkway, Suite 401
                         Roseland, NJ 07068-1640
                         973.403.9200
                         rdavison@starrgern.com

                         Attorneys for Defendant-Appellant Light-
                         house List Company, LLC (No. 25-1593)

                         FREEMAN MATHIS & GARY, LLP
                         /s/ William Wendell Cheney, III
                         William Wendell Cheney, III
                         Andrew W. Sheppard
                         3 Executive Campus, Suite 350
                         Cherry Hill, NJ 08002
                         856.406.1268, 1262
                         wcheney@fmglaw.com
                         Andrew.sheppard@fmglaw.com

                         Attorney for Defendant-Appellant
                         First Direct, Inc. (No. 25-1676)

                         LAW OFFICES OF JARED M.
                         WICHNOVITZ, P.C.
                         /s/ Jared M. Wichnovitz
                         Jared M. Wichnovitz
                         50 Harrison Street, Suite 206
                         P.O. Box 631
                         Hoboken, NJ 07030
                         732.765-2157
                         jared@wichnovitzlaw.com

                         Attorney for Defendant-Appellant
                         Greenlight Venture Corp. (No. 25-1677)




                               48
        Case: 25-1555     Document: 82      Page: 65     Date Filed: 05/30/2025




                       CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 32(g) of the Federal Rules of Appellate Procedure, and

Local Appellate Rule 31.1, I hereby certify that:

      1.     The foregoing Joint Reply Brief of Appellants complies with the type-

volume limitation of Fed. R. App. P. 32(a)(7)(B) and the Court’s order dated May

23, 2025, because, according to the word count of the word-processing system

used to prepare the brief, the brief contains 7,189 words, excluding the table of

contents, table of authorities, and certificates of counsel;

      2.     The foregoing Joint Reply Brief of Appellants complies with the

typeface requirements of Fed. R. App. P. 32(a)(5) and the type-style requirements

of Fed. R. App. P. 32(a)(6) because it has been prepared in a proportionally spaced

typeface, 14-point Times New Roman font;

      3.     The text of the electronic brief and the text of the paper copies filed

with the Clerk are identical; and

      4.     The PDF file of this brief has undergone a virus check using

Windows Defender Advanced Threat Protection Antivirus, Version 1.427.113.0

(last updated April 7, 2025), and no virus was detected.

      This 30th day of May, 2025.

                                                       /s/ Michael Berry
                                                       Michael Berry



                                           49
        Case: 25-1555    Document: 82    Page: 66     Date Filed: 05/30/2025




                         CERTIFICATE OF SERVICE

      I hereby certify that on this 30th day of May, 2025, I caused a true and

correct copy of this Joint Reply Brief of Appellants to be served via ECF using the

CM/ECF system. Participants in the case are registered CM/ECF users, and

service will be accomplished by the appellate CM/ECF system.


                                                    /s/ Michael Berry
                                                    Michael Berry




                                        50
